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                                                         UNITED STATES DISTRICT COURT
                                                         SOUTHERN DISTRICT OFFLORIDA

                                                         MIAMI DIVISION

                                                         Case No.: 1:18-CV-24100-COOKE/
                                                         GOODMAN

   DIGNA VINAS,

           Plaintiff,

   vs.

   THE INDEPENDENT ORDER
   OF FORESTERS,

           Defendant.
           ________________________ I

            PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFEND ANT’S
         MOTION TO DISMISS PLAINTIFF’S SECOND AM ENDED COMPLAINT

            Plaintiff, Digna Vinas (“Vinas”), by and through her undersigned counsel, hereby

   responds in opposition to Defendant’s (“Foresters’”) Motion to Dismiss the Second

   Amended Complaint, and states as follows:

                                     INTRODUCTION AND
                                    PROCEDURAL HISTORY

            1.     Vinas is the named beneficiary of a life insurance policy sold by Foresters to

   her husband, Rigoberto. Mr. Vinas died one year, 11 months and several days after the policy

   was issued. Mrs. Vinas filed a claim for $92,000 in death benefits. Foresters denied the claim

   asserting its rights under the policy’s incontestability clause as a defense, claiming Mr. Vinas

   failed to answer policy application questions to his best knowledge and belief.

           2.      After over a year of litigation, unfettered access to Mr. Vinas’ medical history,

   and unlimited resources to conduct its own investigation, Foresters finally admitted it
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   wrongfully breached its contract with Mr. Vinas by not paying his death benefit.

          3.     Discovery in the case, however, not only revealed that Foresters breached its

   contract, but also provided evidence that Foresters never intended to honor the policy it sold

   to Mr. Vinas, whether Mr. Vinas answered the application questions to his best knowledge

   and belief or not. As such, Ms. Vinas requested leave to amend her complaint to allege a

   cause of action for Fraud in the Inducement. See D.E. 55.

          4.     Foresters responded with strenuous opposition, raising numerous arguments

   including that the amendment was “futile”. See D.E. 72 (Defendant’s Response in

   Opposition); D.E. 80 (Motion for Leave to File Sur-Reply in Opposition); D.E. 82 (Reply in

   Support of Motion for Leave to File Sur-Reply); D.E. 86 (Sur-Reply). The Court rejected each

   of Foresters’ arguments and granted Plaintiff’s Motion for Leave to File a Second Amended

   Complaint. (D.E.90).

          5.     Foresters re-argued the same points in its recently filed, and denied, Motion to

   Stay Discovery, which tracks all the same arguments raised here. (D.E. 96, at 10-15). This

   is relevant because, as the Court knows, disposition of such a motion requires the Court to

   “take a ‘preliminary peek’” at the issues raised in the motion to dismiss to determine whether

   discovery is necessary. (Id. at 10). Here, the Court’s peek apparently revealed nothing of

   merit. The arguments should be rejected again.1




           1 Like all of Defendant’s motions, regardless of the relief being sought, Foresters has
   again taken the Court back through every aspect of the case, including discovery disputes,
   Civil Remedy Notices, and other immaterial issues (usually rewriting history along the way),
   in a desperate attempt to justify its wrongful denial of $92,000 in life insurance benefits. Even
   after being forced to pay benefits, Foresters continues, right up to the present motion, to
   wrongfully claim Mr. Vinas “misrepresented his medical history” and assert unsupported
   legal positions. (D.E. 95, at 2).
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                                   STANDARD OF REVIEW

          A motion to dismiss is properly denied if, taking the allegations in the plaintiff’s

   complaint as true, the plaintiff makes out a claim “that is plausible on its face.”

   SmileDirectClub, LLC v. Battle, 969 F.3d 1134, 1140 (11th Cir. 2020) (citing Ashcroft v.

   Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Corp. v. Twomblv. 550 U.S. 544, 570 (2007)).

   The complaint must be interpreted “in the light most favorable to the plaintiff.”      Boyd v.

   Warden, Holman Corr. Facility, 856 F.3d 853, 863-64 (11th Cir. 2017).

          The Court necessarily already used this standard to evaluate the arguments Foresters

   raises against Count III (Fraud in the Inducement) when it granted Plaintiff’s motion to file

   the Second Amended Complaint, which argued that the amendment would be futile. E.g.,

   Eglise Baptiste Bethanie De Ft. Lauderdale, Inc. v. Seminole Tribe of Florida, 19-CV-62591,

   2020 WL 43221, at *12 (S.D. Fla. Jan. 3, 2020); John Hancock Life Ins. Co. (U.S.A.) v.

   Soudijn, 8:15-CV-01277-T-27AEP, 2015 WL 12859315, at *1 (M.D. Fla. Dec. 11, 2015).

                       ARGUMENT AND MEMORANDUM OF LAW

              I.     Count I for Breach of Contract is Viable and Actionable Because
                    Defendant Has Refused to Pay Plaintiff’s Consequential Damages

          Foresters claim that Count I, for Breach of Contract is moot, completely ignores

   Plaintiff’s claim for consequential damages as a result of Foresters’ admitted breach. The case

   and controversy with respect to the breach continues because Vinas has not recovered those

   consequential damages. Indeed, Vinas’ Complaint (the allegations of which the Court must

   accept as true), expressly alleges “[Vinas] is suffering consequential damages of unpaid debts,

   accruing interest, and defense costs in defense of the county court collection action and other

   expenses”. (D.E. 94, at ^ 17-19).

          The contract does not provide Foresters with a defense as it states only that, subject to

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   the terms and conditions, “we will pay the death benefit if we receive satisfactory proof of the

   insured’s death.” (D.E. 94-1, at 12). Foresters suggests, without citation to any authority,

   that it can wrongfully delay payment, without consequence, by unsuccessfully seeking to take

   advantage of the two-year contestability period.      While Foresters may certainly seek to

   enforce the terms of its incontestability provision, if in doing so Foresters breaches the

   contract, it is responsible for the damages caused by its breach. Further, the policy itself in

   no way supports Foresters’ interpretation that it can delay payment for as long as it wishes,

   with no consequence except payment of interest. Foresters is therefore responsible for any

   reasonably foreseeable consequential damages as a result of that breach.

          Addressing, briefly, Foresters’ claim that the parties had to agree to consequential

   damages in the contract, the seminal case on the issue, fodder for every first-year course in

   contracts, is Hadley v. Baxendale, 9 Exch. 341, 156 Eng. Rep. 145 (1854). Hadley made it

   clear that the issue is foreseeability of the consequential damages for breach, not the intent of

   the parties at the time a contract is executed E.g., Bizrocket.com, Inc. v. Interland, Inc., 04­

   60706-CIV, 2005 WL 8168264, at *4 (S.D. Fla. Nov. 15, 2005) (explaining that “it is not

   necessary to prove that the parties contemplated the precise injuries that occurred so long as

   the actual consequences could have reasonably been expected to flow from the breach.”)

   (quoting Mnemonics, Inc. v. Max Davis Associates, Inc., 808 So. 2d 1278 (Fla. 5th DCA

   2002)). Florida courts have adopted the Hadley principle, see e g . Life Investors Insurance

   Company of America v. Johnson 422 So.2d 32, (Fla. 4th DCA 1982), with courts most recently

   extending consequential damages to insurance policies. Manor House, LLC v. Citizens Prop.

   Ins. Corp., 277 So. 3d 658, 661 (Fla. 5th DCA 2019).2



          2 Manor House is currently under review by the Florida Supreme Court pursuant to a
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          To the extent that Foresters argues that “contemplating” special damages equates to

   expressing a contractual intent to cover them, Foresters is simply wrong. The purpose of

   contract damages is to put the non-breaching party in the same position as if the other party

   had performed. Id. Absent some explicit contractual provision, not present here, the limiting

   concept is foreseeability, not whether some unspoken intent to include special damages for

   breach can be discerned from the contract.

          Foresters next argues the policy’s merger clause insulates it from liability for

   misrepresentations.   (D.E.      95,   at   9-10).   Florida   law   clearly   holds   otherwise.

   Noack v. Blue Cross and Blue Shield of Florida, Inc., 742 So.2d 433, 434 (Fla. 1st DCA 199

   9). (“[I]t is a well-established rule that ‘alleged fraudulent misrepresentations may be

   introduced into evidence to prove fraud notwithstanding a merger clause in a related

   contract.’”) (citation omitted); see also Romo v. Amedex Ins. Co., 930 So. 2d 643, 650 (Fla.

   3d DCA 2006) (explaining that merger clause did not bar plaintiff from seeking reformation);

   Mejia v. Jurich, 781 So. 2d 1175, 1178 (Fla. 3d DCA 2001) (holding that integration clause

   did not affect oral representations “which are alleged to have fraudulently induced a person

   to enter into the agreement”).

          Finally, Vinas’ claim is more than adequately plead. (D.E. 95, at 10-11). Vinas alleges

   that as a “direct and proximate result of Foresters’ failure to timely pay the death benefit to

   Vinas, Vinas is being sued in state court for a collection action in the amount of $11,810.37




   certified question of great public importance. Citizens Property Ins. Corp. vs Manor House,
   LLC, et al., No. SC19-1394. As such, the opinion of the Fifth District Court of Appeal
   establishes that consequential damages are available. Manor House at 661. Unless the Florida
   Supreme Court creates a special exception for all insurance policies, general contract
   principles will continue to support an award of consequential damages.


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   with interest continuing to accrue.” (D.E. 94, at ^ 18). She “is suffering consequential

   damages o f unpaid debts, accruing interest, and defense costs in defense of the county court

   collection action and other expenses.” (Id. at ^ 19).

          Foresters’ desperate suggestion that Vinas should have explicitly plead every

   imaginable item of consequential damage a widow might suffer as the result of an insurance

   company wrongfully denying her husband’s life insurance benefit is respectfully absurd. (D.E.

   95, at 9). Ironically, in the very next paragraph of its motion, Foresters acknowledges that

   the “very purpose of life insurance is to provide a sanctuary from the rigors and uncertainties

   of age, unemployment, and other disabilities that eventually incumber all flesh, and to provide

   some assurance that those dependent on the insured will at least have bread when he is gone. ”

   (Id. at 10 (quoting N.Y. Life Ins. Co. v. Kincaid, 122 Fla. 283, 298 (Fla. 1935)) (emphasis

   added)). Obviously, Foresters was on notice of the foreseeability of uncertainty and the

   disastrous financial consequences that will likely follow if an insurer breaches the contract.

   The additional detail is obvious and unnecessary to “nudge [entitlement to consequential

   damages] across the line from conceivable to plausible.” Bell Atl. Corp. v. Twombly, 550

   U.S. 544, 570 (2007).

          Further, spelling out every single item of expense Vinas incurred because she did not

   have the life insurance money when she needed it, is not necessary to provide Foresters with

   “sufficient notice of the damages she seeks,” and Foresters’ authority does not hold otherwise.

   (D.E. 95, at 10 (citing Landsman v. City of Vero Beach, No. 13-CV-14375, 2015 WL

   10960951 (S.D. Fla. Oct 21, 2015))). As for the $11,810.87 lawsuit Vinas faces in county

   court - that money is owed. The eventual imposition of a judgment against her is more than

   “purely speculative.” (D.E. 95, at 11).


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          In sum, Foresters breached the contract by failing to pay Vinas upon proof of Mr.

   Vinas’ death. Foresters gambled that it could avoid liability altogether. Foresters now has to

   contend with the consequential damages attendant to that breach, which were both eminently

   foreseeable and recoverable under Florida law. Foresters’ Motion to Dismiss the Second

   Amended Complaint should be denied as to Count I.

        II.    Foresters’ Concession That the Policy Was in Full Force And Effect At The
                 Time Of Mr. Vinas’ Death Renders Count II, Declaratory Relief, Moot.

          Consistent with its post-suit payment of benefits, with interest, Foresters now concedes

   that the policy was “valid and in full force and effect” when Mr. Vinas died. (D.E. 95, at 11­

   12). This obviates any need for a declaration that “Foresters’ attempted recission of the policy

   was incorrect.” (D.E. 94, at ^ 24). Vinas agrees Count II has become moot.

       III.    Vinas has Sufficiently Alleged a Cause of Action for Fraud in the Inducement
                   Separate and Apart from Foresters’ Breach. The Court Has Already
                          Rejected Foresters’ Meritless Challenge to That Count

          A.     Foresters’ Arguments Supporting Dismissal of Count III Have Already Been
                 Rejected Using the Same Motion To Dismiss Standard Of Review

          This is not the first time the Court has addressed Foresters’ arguments. In opposing

   Vinas’ Motion to Amend as futile, Foresters brought the same arguments for evaluation under

   the same legal standard as a motion to dismiss. See, e.g., Eglise Baptiste Bethanie De Ft.

   Lauderdale, Inc. v. Seminole Tribe of Florida, 19-CV-62591, 2020 WL 43221, at *12 (S.D.

   Fla. Jan. 3, 2020) (“The futility threshold is akin to that for a motion to dismiss...

   .”) aff’d, 20-10173, 2020 WL 4581439 (11th Cir. Aug. 10, 2020). Foresters provides no basis

   upon which the Court should reconsider its reasoning and ruling.

          B.     Vinas Has Standing to Pursue This Cause of Action for Fraud In The
                 Inducement.

          Foresters’ argument that Vinas does not have standing to pursue this matter is as

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   unsupported as it was the first time the Court rejected it. (D.E. 95, at 14; see also D.E. 72, at

   11 (pressing same line of argument in opposition to Motion for Leave to File a Second

   Amended Complaint)). Foresters’ single item of new authority does nothing to support its

   argument.    Branch Banking & Trust Co. v. Appraisalfirst, Inc., No. 10-21141-CIV-

   GOLD/MCALILEY, 2010 WL 11596299, at *4 (S.D. Fla. July 7, 2010) (holding that, where

   BB&T was not a third party beneficiary, and had not acquired right to sue by assignment or

   from FDIC, it lacked standing to pursue fraud claim against appraiser).

          As Vinas pointed out in opposition to Foresters’ first bite at this particular apple, she

   has, as a direct beneficiary of the policy “a basis upon which . . . [she] may . . . invoke the

   benefits of a contract to which [she] is not a party.” (D.E. 79, at 10 (citing Medimport S.R.L.

   v. Cabreja, 929 F. Supp. 2d 1302, 1315 (S.D. Fla. 2013))). Additionally, limiting standing

   under the present facts to the party whose death occasioned the payment obligation creates a

   hugely perverse incentive to cheat:

                 Foresters’ argument should be denied for its lack of practical
                 applicability. Specifically, to accept Foresters’ standing
                 argument would be to eliminate from jurisprudence any claim
                 for fraud with respect to all life insurance policies, as the named
                 insured in the majority of such policies is usually deceased. Thus,
                 according to Foresters, no beneficiary would ever be able to sue
                 for breach of contract or fraud. Perhaps this is why Foresters
                 could not find a single case to cite even suggesting that a
                 beneficiary of a life insurance policy does not have standing to
                 sue for fraud in the inducement.

   (D.E. 79, at 10) (emphasis added). This reasoning held true in support of the Motion to

   Amend and continues to be valid today.         It is not surprising that, despite knowing this

   argument was being made, Foresters still could not find a case even suggesting that a

   beneficiary of a life insurance policy does not have standing to sue for fraud in the

   inducement. Clearly, such lawsuits have been filed. E.g., JMIC Life Ins. Co. v. Henry, 922

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   So. 2d 998, 1000 (Fla. 5th DCA 2005). It would be remarkable, although highly unlikely

   indeed, if Foresters were correct on the law, but no other insurance company had ever

   succeeded on the same point. The Court should again reject Foresters’ standing argument.

          C.     Count III of Vinas’ Second Amended Complaint for Fraudulent Inducement
                 Alleges a Tort Independent of Foresters’ Subsequent Breach Of Contract.

          Foresters’ main argument here is directed at expressing its disproval of, and

   disagreement with Florida law clearly establishing that fraudulent inducement “is an

   independent tort in that it requires proof of facts separate and distinct from the breach of

   contract.” HTP, Ltd. v. Lineas Aereas Costarricenses, S.A., 685 So. 2d 1238, 1239 (Fla.

   1996); see, eg., Maxted v. SATO Glob. Sols., Inc., 17-61769-CIV, 2018 WL 3109628, at *6

   (S.D. Fla. Mar. 9, 2018) (applying HTP to hold that a fraudulent inducement claim was not

   “impermissibly duplicative” of a claim of breach of oral employment contract). It is well-

   established that “a promise of future performance” can “serve as a predicate for a claim of

   fraud” when “the promise was made with the present intention not to comply.” Noack v.

   Blue Cross & Blue Shield of Florida, Inc., 742 So. 2d 433, 434 (Fla. 1st DCA 1999) (emphasis

   added) (citations omitted); see also Mejia v. Jurich, 781 So. 2d 1175, 1177-78 (Fla. 3d DCA

   2001) (explaining that “if the plaintiff can demonstrate that the person promising future action

   does so with no intention of performing or with a positive intention not to perform, such a

   promise may also constitute a fraudulent misrepresentation.”).

          Ignoring paragraph after paragraph of specifically plead facts directed at the formation

   of the contract, (D.E. 94, at ^ 32-45), Foresters again conclusorily argues Vinas alleged facts

   only proving breach. (D.E. 86, at 4; compare, e.g., D.E. 96, at 17). Foresters is clearly ignoring

   the expressed allegations in the Second Amended Complaint that allege Foresters committed

   an independent tort at the time it entered the contract, because it had no intention of honoring

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    the “best knowledge and belief” language. (D.E. 94, at ^ 36-42).

           A brief recitation of the history of the litigation of the Fraudulent Inducement count,

    may assist the Court and explain any sense of deja vu. Defendant first challenged the Fraud

    Count by citing this Court to Florida’s Economic Loss Rule (“ELR”) in its Opposition to the

    Motion to File a Second Amended Complaint. (D.E. 72, at 12). In her Reply, Vinas pointed

    out that under Florida law, since 2013, the ELR only applied to products liability cases. (D.E.

    79, at 6-7 (citing Tiara Condominium Ass’n, Inc. v. Marsh & McLennan Co., 110 So. 3d 399

    (Fla. 2013))).

           Presumably to address its mistake, Foresters requested leave to file a sur-reply to raise

    new arguments based on the independent tort doctrine, i.e. that “basic contract principles

    continue to bar a tort claim where the plaintiff cannot establish the breach of a duty

    independent of its contractual obligations.” (D.E. 80, at 1). Foresters devoted its five-page

    sur-reply to distinguishing Tiara. (D.E. 86, at 1-2).

           Because the sur-reply raised the independent tort doctrine for the first time, Plaintiff

    requested leave to file a two-page response to the sur-reply in order to point out which specific

    parts of the proposed Second Amended Complaint alleged “tortious independent wrongdoing

    separate, apart and temporally before, the Defendant ever breached its contract.” (D.E. 89,

    at 1 (citing D.E. 55-1, at ^ 36-42, 44)). The Court denied the motion to file the two-page sur

    sur reply as moot, because it granted the Motion for Leave to File the Second Amended

    Complaint. (D.E. 93).

           Armed with this preview, Foresters’ present motion coyly advises the Court that it

    “anticipates that Plaintiff will rely on Tiara” (D.E. 95, at 18), and then goes on to reproduce,

    in full, the entire first seven-citation paragraph from the sur-reply. (Compare D.E. 95, at 18-


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    19 with D.E. 86, at 2-3). Respectfully, this seems wasteful to Plaintiff. In fact, Tiara has no

    real role to play in the question currently before the Court. Plaintiff only raised Tiara to rebut

    Defendant’s now-abandoned ELR argument. Again, “Plaintiff generally agrees with” (D.E

    89, at 1) arguments that the independent tort rule survived Tiara, which merely limits the

    ELR to products liability cases. The reason Tiara doesn’t apply here, is the same reason

    Foresters’ motion should be denied, Plaintiff’s Second Amended Complaint alleges an

    independent tort!

           Specifically, the Second Amended Complaint alleges that “all the Policy provisions

    constituted specific representations to or by Foresters in the form of contractual promises

    and/or statements of present intention. ” (D.E. 94, at ^ 32). Mr. Vinas’ application asked him

    to provide “answers that were ‘full, complete, and true to the best of [his] knowledge and

    belief.’” (D.E. 94, at ^ 33). But Defendant had “no intention to pay Mr. Vinas during the

    first two years following issuance of the Policy,” (while its validity was still contestable),

    regardless of Mr. Vinas’ best knowledge and belief. (Id., at ^41). The representation that the

    application need be completed only to his best of his knowledge “was made to induce

    Rigoberto Vinas to pay premiums for the policy despite the fact that Foresters knew it had no

    intention to ever pay benefits if [he] were to die during” the contestability period, “even if

    Application answers were provided to Mr. Vinas’ best knowledge and belief.” (D.E. 94, at ^

    37).3 Nevertheless, Mr. Vinas relied on the validity of the representations in the contract and

    made premiums as required. (D.E. 94, at ^ 41). All of these allegations go to formation of




           3        Plaintiff expects to prove that, in addition to inducing payment of premiums, Mr.
    Vinas’ reliance on the policy as written induced him to relinquish a different life insurance
    policy for which the contestability period had expired.


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    the policy, separate and distinct from the breach that occurred approximately two years later

    when Foresters refused payment of benefits.

           In addition, while not necessary to satisfy Rule 9(b) requirements4, Vinas has alleged

    specific anticipated evidence of fraudulent intent at the inception, including “the fact that,

    upon presentation of the Vinas claim to Foresters, Foresters never even made inquiry into

    Rigoberto Vinas’ best knowledge and belief.” (D.E. 94, at 40). Consider just one example of

    the specificity of the allegations in combination with the evidence already adduced. The

    Second Amended Complaint alleges:

                   At all times material hereto, Foresters knew or should have known this
                   promise was false when made as Foresters intended, at the time of sale
                   of the policy, to improperly ignore Mr. Vinas’ “best knowledge and
                   belief” in the Application and instead deny a claim based upon
                   Foresters’ interpretation of the medical accuracy of information without
                   regard to Rigoberto Vinas’ best knowledge and belief.

    (D.E. 94, at ^ 38) (Emphasis supplied). Evidentiary support for this proposition is already on

    record. During the deposition of Lisa Buckland, one of Foresters’ claim representatives

    charged with deciding whether policies will be rescinded based upon an insured not providing

    answers to his/her best knowledge and belief, Ms. Buckland testified:

                   Q:     So you would have recommended rescinding this policy
                           even though the last information you have about what
                           Mr. Vinas actually knew was that he was told he didn’t
                           have diabetes; is that true?

                   A:      He stated he didn’t know. The information I had in the
                           medical records showed that he did have it, so I would
                           have still recommended rescission.

                   Q:      So, for you, it wasn’t a question of what he knew or not,
                           it was what the diagnosis was?

                   A:     Correct.


           4 See p. 13, infra.
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    (D.E. 79-1, Lisa Buckland deposition, p. 55, l. 25-p. 56, l. 11) (Emphasis supplied). Additional

    evidentiary bases for Vinas’ claim are explained in the Motion for Leave to File the Second

    Amended Complaint (D.E. 55) and the Reply to Foresters’ opposition, (D.E. 79), both of

    which are incorporated herein. In sum, Vinas’ fraudulent inducement claim does not merely

    duplicate the breach of contract claim and the Court should reject Foresters’ argument and

    deny the Motion to Dismiss.

           D.      Count III, Fraudulent Inducement, Is Alleged with Sufficient Specificity.

           Foresters once again, invokes Rule 9(b), complaining that it has no idea what the

    “allegedly fraudulent statements” might be. (D.E. 95, at 15). Ignoring the allegations does

    not make them go away. Plaintiff has expressly alleged that:

                   36.     At all times material hereto, Foresters falsely and
                   fraudulently represented, through language in the Policy and
                   incorporated Florida law, that in the event Mr. Vinas were to die
                   from a non-excluded cause within the first two years following
                   issuance of the Policy, Foresters would pay benefits under the
                   Policy as long as Mr. Vinas answered the Application questions
                   to his best knowledge and belief.

    (Id., at ^ 36). The specific language in the policy states: “Incontestability We will not contest

    the validity of this certificate [the policy] after it has been in effect during the lifetime of the

    insured for two years except for non-payment of non-payment of premiums.” (D.E. 94-1 at

    14). The relevant language in the application, also alleged in the Complaint, which is

    incorporated into the policy by Florida law, expressly stated:

                   I, by signing this Form: 1) Declare that I have provided the
                   statements, answers and representations shown in this Form and
                   they are full, complete and true, to the best of my knowledge and
                   belief.

    See Policy Application (D.E. 16-2) (Emphasis supplied); Policy, D.E. 94-1, at 8, 10


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    (explaining that “entire contract” includes the application); Fla. Stat. §632.621(1), (providing

    that benefit contracts issued by fraternal benefit societies shall include the application for

    insurance).5

            Further, immediately preceding paragraph 36, allegation, Vinas alleged:

                   35.    At all times material hereto, Foresters knew that if
                   Rigoberto Vinas died within the first two years following the
                   issuance of the Policy, the Policy would be contestable under
                   Florida law. That is, Foresters knew that it would have the
                   opportunity to review the Application questions and determine
                   whether the information provided was answered to Rigoberto
                   Vinas’ “best knowledge and belief.”



                   32.    [T]he     Policy    provisions    constituted     specific
                   representations to or by Foresters in the form o f contractual
                   promises and/or statements of present intention. The Policy was
                   executed and attested to on behalf of Foresters by its Executive
                   Secretary, K. Routhiaike.”

    (Id., at ^ 35, 32). The complaint makes it clear that the representations in the policy were

    fraudulent because Foresters did not intend to honor its promises from the instant they were

    made.

            Undaunted, Foresters next argument creatively asserts Plaintiff does not allege any

    “pre-contractual statements which induced Mr. Vinas to purchase the Certificate.” (D.E. 95

    at 17) (emphasis supplied). Defendant’s self-serving unsupported interpretation of the law

    notwithstanding, an independent tort occurs when a defendant harbors the intent not to



           5        To the extent that the specific fraternal benefit society laws do not apply to Foresters,
    Florida law imposes a similar requirement on life insurance policies generally. Fla. Stat.
    §627.454 (“Every insurance contract shall provide that the policy, or the policy and the
    application therefor if a copy of such application is endorsed upon or attached to the policy
    when issued, shall constitute the entire contract between the parties, and that all statements
    contained in the application shall, in the absence of fraud, be deemed representations and not
    warranties.”)
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    perform a promise at the time it is made; i.e., at the time the contract is formed. Noack, 742

    So. 2d at 434; see also John Hancock Life Ins. Co. (U.S.A.) v. Soudijn, 8:15-CV-01277-T-

    27AEP, 2015 WL 12859315, at *1 (M.D. Fla. Dec. 11, 2015) (denying motion to dismiss

    where plaintiff alleged false representation in text of application for life insurance). Florida

    law does not require anything further. The Court should reject the argument that Vinas has

    inadequately pled Count III, Fraud in the Inducement.

           E.     §627.428 Attorney’s Fees are Available Because the Fraudulent Inducement
                  Cause of Action, While Independent From a Breach of Contract Cause of
                  Action, Still Arises Under A Policy Executed by the Insurer as §627.428
                  Requires.

           Section 627.428 provides:

                   Upon the rendition o f a judgment or decree by any of the courts
                   of this state against an insurer and in favor of any named or
                   omnibus insured or the named beneficiary under a policy or
                   contract executed by the insurer, the trial court . . . shall adjudge
                   or decree against the insurer and in favor o f the insured or
                   beneficiary a reasonable sum as fees or compensation for the
                   insured’s or beneficiary's attorney prosecuting the suit in which
                   the recovery is had.

    Fla. Stat §627.428(1). Significantly, Foresters fails to cite a single case holding that attorneys

    fees are not available for a plaintiff who successfully establishes that an insurance company

    fraudulently induced an insured to enter into the contract of insurance. This is understandable

    since a fraudulent inducement cause of action, based upon inducing a Plaintiff into entering

    into a contract, satisfies all the elements of §627.428.

           Similarly, the allegations in the present complaint satisfy every statutory element for

    prevailing party attorney fees. Mr. Vinas was the named insured, and Ms. Vinas is a named

    beneficiary under the policy. Count III (Fraud in the Inducement), while independent and

    separate from Count I (Breach of Contract), in that they require different elements of


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    evidentiary proof, nevertheless features the issuance of the policy as a critical element o f the

    claim. Without the issuance of the policy, there would have been no fraudulent inducement.

    The fact that Foresters induced Mr. Vinas into entering into the policy, albeit fraudulently,

    does not eliminate the contractual tie to the transaction. Thus, Vinas’ claim arises “under a

    policy or contract executed by the insurer.” §627.428(1), Fla. Stat.

              Foresters’ cases are totally distinguishable from the present case. (D.E. 95, at 19-20).

    In United Gen. Life Ins. Co. v. Koske, 519 So. 2d 71, 72 (Fla. 5th DCA 1988), the Court

    held, the statute did not apply because “no policy of insurance was ever issued or executed by

    the insurer covering Mr. Koske as an insured.” (D.E. 95, at 20). Therefore, the claim could

    not have arisen “under a policy or contract executed by the insurer.” §627.428(1), Fla. Stat.

    In the present case, there is no question the policy was issued (albeit fraudulently so), to Mr.

    Vinas.

             In Hilson v. GEICO Gen. Ins. Co., the Court determined that malpractice of one of

    GEICO’s staff attorneys did not arise “under” the policy Geico had issued to the Plaintiff.

    8:11 -CV-13-MSS-MAP, 2016 WL 3211474, at *3 (M.D. Fla. Mar. 31, 2016) (finding no fee

    entitlement where “the negligence of GEICO’s staff attorney caused GEICO not to settle for

    the policy limits and resulted in an excess judgment”). That makes perfect sense as the cause

    of action was for professional negligence having nothing to do with the underlying liability

    contract. Further, the Hilson plaintiffs made it clear during litigation that they were asserting

    a tort claim unrelated to GEICO’s contract with the insured. (Id. at 3). Instead, GEICO’s

    liability was allegedly based upon its “vicariously liability] for [the attorneys’] professional

    malpractice under the principle of respondeat superior.” (Id.). In the present case, however,

    the fraudulent misrepresentations occurred with respect to and in the policy itself. Plaintiffs


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    have alleged these representations caused Mr. Vinas to enter into that contract with Foresters.

    The contractual nexus that was entirely lacking in Hilson is absolutely present here.

           Johnson v. Omega Insurance Company, 200 So. 3d 1207 (Fla. 2016), has nothing to

    do with the present case. In Johnson, the Supreme Court merely clarified that “in the context

    of Section 627.428, a denial of benefits simply means an incorrect denial,” with no

    requirement of “bad faith or maliciousness” as well. Foresters completely fails to explain how

    Johnson, a sinkhole case, has anything to do with the analysis of the Count III (Fraud in the

    Inducement).

           In sum, if Vinas prevails, the “judgment or decree” in her favor will be rendered

    because Foresters fraudulently provided coverage to Vinas under a policy or contract executed

    by the insurer, because the policy itself contains the fraudulent statement. §627.428(a), Fla.

    Stat. Moreover, the claim alleged is fraud in the inducement to contract, which is alleged to

    have resulted in the creation of the policy. The Court should recognize Vinas’ entitlement to

    attorney fees under the Second Amended Complaint.

                                           CONCLUSION

           The volume of argument in this case is disproportional to the difficulty of the issues.

    Foresters failed to honor its contractual obligation, causing Vinas to incur unnecessary

    expenses from which her husband’s life insurance policy was supposed to protect her.

    Foresters is liable for these consequential damages. Therefore, compensable damages still

    exist with respect to Count I (Breach of Contract), which is therefore not moot. With respect

    to Count III (Fraud in the Inducement), Vinas has sufficiently alleged standing and the

    elements of fraudulent inducement, which exist independent of, and temporally before,

    Foresters’ breach of contract. Finally, attorney’s fees are available under Section 627.428


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    because Foresters issued a policy, albeit fraudulently, to Vinas. Without that policy, there

    could be no cause of action for fraudulent inducement. As such, there is a nexus between

    Foresters’ policy and the tort cause of action for fraudulent inducement, such that the cause

    of action arises sufficiently “under” the contract issued by the insurer. While Plaintiff does

    not believe it’s necessary, to the extent that the Court disagrees, Vinas asks the Court to

    dismiss without prejudice so that any defects in pleading can be corrected.

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY a true and correct copy of the foregoing has been electronically
    filed with the Court and a copy has been served on September 15, 2020 on: Kristina B. Pett,
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